Case 1:17-cv-00602-JAO-WRP Document 47 Filed 11/18/19 Page 1 of 3        PageID #: 161




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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

  SOUKSAMLANE JERMAN,                        )    Civil Case No.:
                                             )    1:17-cv-00602-JAO-WRP
                            Plaintiff,       )
                                             )
  v.                                         )    STIPULATION OF DISMISSAL
                                             )    WITH PREJUDICE
                                             )
  EQUIFAX INFORMATION                        )
  SERVICES, LLC,                             )
                                             )
                            Defendant.       )

               STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Rule 41(a)(1)(A)(ii), Plaintiff Souksamlane Jerman and

  Defendant Equifax Information Services, LLC (“Equifax”) hereby stipulate that all

  claims of the Plaintiff against Equifax are hereby dismissed, with prejudice, with

  each party to bear her or its own costs and attorneys’ fees.

         Respectfully submitted this 18th day of November, 2019.

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Case 1:17-cv-00602-JAO-WRP Document 47 Filed 11/18/19 Page 2 of 3        PageID #: 162




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                                       2
Case 1:17-cv-00602-JAO-WRP Document 47 Filed 11/18/19 Page 3 of 3         PageID #: 163




  APPROVED AND SO ORDERED:




  STIPULATION OF DISMISSAL WITH PREJUDICE; Jerman v. Equifax Info. Servs., LLC, Civil
  No. 17-00602-JAO-WRP

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